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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

                                     :
OLEG SOKOLOV,                        :
                                     :
     Plaintiff,                      :
                                     :
V.                                   :   CASE NO. 3:04-CV-1903 (RNC)
                                     :
LORAD CORP., HOLOGIC, INC.,          :
                                     :
     Defendants.                     :


                              RULING AND ORDER

     Plaintiff holds the right to U.S. Patent No. 5,970,118 (the

‘118 patent), which claims an improved cellular x-ray grid.

Plaintiff alleges that defendant Hologic, Inc., which owns the

assets of plaintiff’s former employer, is infringing his patent.

Defendant has moved for summary judgment, arguing that the ‘118

patent is indefinite under 35 U.S.C. § 112, ¶¶ 2 and 6 because it

fails to disclose any structure corresponding to a means-plus-

function limitation in the claim.        I find, by clear and

convincing evidence, that the claim contains a means-plus-

function limitation and that the specification does not disclose

any corresponding structure.       Because this failure to disclose

corresponding structure renders the ‘118 patent invalid, I grant

the motion for summary judgment and dismiss the case.

I.   Background

     The plaintiff filed the original patent application directed

to this invention in 1993.       He filed two continuation

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applications in 1995 and 1996, the latter of which issued as the

‘118 patent on October 19, 1999.       The ‘118 patent claims a

cellular x-ray grid.    The plaintiff’s grid is said to be superior

to previous grids in that it achieves “a complete erasing of the

image of the cells during its movement over the time of X-ray

examinations.”    (Col. 1, lns. 59-61.)

     The patent application was rejected on obviousness and

indefiniteness grounds several times during its prosecution.               In

1998, the examiner rejected the patent because, among other

reasons, “no means for moving the grid [were] recited.”            (Pl.’s

Ex. A.50 at 2.)    In response to the examiner’s concerns, the

plaintiff amended the claim to include the language “and means

for moving of said grid in said direction during an x-ray

exposure procedure.”    (Pl.’s Ex. A.53.)     He explained in his

accompanying comments that “all contemporary X-ray machines in

the world for conventional medical x-ray technology are supplied

by Bucky mechanisms for movement of grids in which using grids

have been installed.”    (Pl.’s Ex. A.53.)      Following this

amendment and others, the examiner issued a notice of allowance

in March 1999.

     At the time plaintiff originally applied for the patent, he

was employed by Lorad Corp.     Hologic, Inc. acquired Lorad Corp.’s

business assets in 2000.     In November 2004, plaintiff initiated

this lawsuit against Hologic, Inc. and Lorad Corp. alleging that


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Hologic is making and/or selling cellular x-ray grids that

infringe the ‘118 patent.1

II.   Discussion

      Defendant contends that the final phrase of claim 1 – “means

for moving of said grid in said direction during an x-ray

exposure procedure” – is recited as a means-plus-function

limitation, see 35 U.S.C. § 112, ¶ 6, and that the specification

does not disclose a corresponding structure, rendering the patent

invalid for indefiniteness.       Indefiniteness “is a legal

conclusion that is drawn from the court’s performance of its duty

as the construer of patent claims.”          Default Proof Credit Card

Sys., Inc. v. Home Depot, U.S.A., Inc., 412 F.3d 1291, 1298 (Fed.

Cir. 2005) (quoting Atmel Corp. v. Info. Storage Devices, Inc.,

198 F.3d 1374, 1378 (Fed. Cir. 1999)).          Because patents are

presumed valid, the party challenging a patent’s validity must

prove the facts supporting indefiniteness by clear and convincing

evidence.    See Default Proof Credit Card Sys., Inc., 412 F.3d at

1297.

      Title 35, section 112, paragraph 6 of the United States Code

provides:

      An element in a claim for a combination may be
      expressed as a means or step for performing a specified
      function without the recital of structure, material, or
      acts in support thereof, and such claim shall be


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        According to defendant, Lorad Corp. is no longer a
separate entity.

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      construed to cover the corresponding structure,
      material, or acts described in the specification and
      equivalents thereof.

This provision “was intended to allow the use of means

expressions in patent claims without requiring the patentee to

recite in the claims all possible structures that could be used

as means in the claimed apparatus.”          Med. Instrumentation &

Diagnostics Corp. v. Elekta AB, 344 F.3d 1205, 1211 (Fed. Cir.

2003).    Claims expressed pursuant to        § 112, ¶ 6 are known as

means-plus-function or step-plus-function elements.              To satisfy §

112, ¶ 6, an applicant using means-plus-function format must

disclose the corresponding structure in the specification.                See

id.   “This duty to link or associate structure to function is the

quid pro quo for the convenience of employing § 112, ¶ 6.”

Default Proof Credit Card Sys., Inc., 412 F.3d at 1298.               Failure

to disclose the corresponding structure renders the patent

invalid for failure to satisfy the definiteness requirement of §

112, ¶ 2.2    Cardiac Pacemakers, Inc. v. St. Jude Med., Inc., 296

F.3d 1106, 1114 (Fed. Cir. 2002).

      The threshold issue facing the court is whether the disputed

language is intended to convey a means-plus-function limitation.

The use of the word “means” in combination with a function gives



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       Title 35, section 112, paragraph 2 of the United States
Code provides: “The specification shall conclude with one or more
claims particularly pointing out and distinctly claiming the
subject matter which the applicant regards as his invention.”

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rise to a presumption that the claim element is a means-plus-

function limitation.    Al-Site Corp. v. VSI Int’l, Inc., 174 F.3d

1308, 1318 (Fed. Cir. 1999).     However, this presumption can be

overcome if the claim itself recites sufficient structure for

performing the function.     Id.; see, e.g., Cole v. Kimberly-Clark

Corp., 102 F.3d 524, 531 (Fed. Cir. 1996) (holding that

“perforation means . . . for tearing” recited sufficient

structure because the claim identified the structure (i.e.,

perforation) and its location and extent).        “The recitation of

some structure in a means plus function element” does not

overcome this presumption when the structure “tells only what the

means-for-[function] does, not what it is structurally.”            Laitram

Corp. v. Rexnord, Inc., 939 F.2d 1533, 1536 (Fed. Cir. 1991).

     Plaintiff contends that the disputed claim language does not

describe a means-plus-function element, notwithstanding the words

“means for,” because it recites structure by which to move the

grid.   Plaintiff argues that a reader skilled in the art would

construe “during an x-ray exposure procedure” in light of the

specification and prosecution history as reciting structure for

moving a grid.   In particular, plaintiff points to the

prosecution history’s disclosure of the Bucky mechanism as the

conventional mechanism for moving grids and to the

specification’s citation of an article and patent that disclosed

means for moving grids.


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     When viewed in light of the presumption of means-plus-

function format, the phrase “during an x-ray exposure procedure”

cannot be construed to recite structure by which to move the

grid.   On its face, “during an x-ray exposure procedure” does not

recite any structure for moving a grid.       An “x-ray” or “x-ray

exposure procedure” cannot move a grid.       This language merely

explains the context in which the means moves the grid.            In other

words, it reveals more about what the means for moving the grid

“does, not what it is structurally.”       Laitram Corp., 939 F.2d at

1536.

     Plaintiff would have the court go beyond the plain language

of the claim to construe “during an x-ray exposure procedure” to

recite structure in light of the prosecution history and current

knowledge among those trained in the art.        But, in deciding

whether the presumption of means-plus-function format is

overcome, the inquiry must focus on whether “the claim itself

recites sufficient structure or material for performing the

claimed function.”   Al-Site Corp., 174 F.3d at 1318 (emphasis

added); see also Sage Prods., Inc. v. Devon Indus., Inc., 126

F.3d 1420, 1427-28 (Fed. Cir. 1997) (”[W]here a claim recites a

function, but then goes on to elaborate sufficient structure,

material, or acts within the claim itself to perform entirely the

recited function, the claim is not in means-plus-function

format.” (emphasis added)).     Plaintiff has not cited, nor has the


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court located, any case in which the Federal Circuit construed

nonstructural language to find structure in the way suggested by

plaintiff.   In every case cited by the plaintiff in which the

means-plus-function presumption was overcome, the relevant

structure appeared in the claim.       See Cole, 102 F.3d at 531

(“perforation means”); MediaCom Corp. v. Rates Tech., Inc., 4 F.

Supp. 2d 17, 27 (D. Mass. 1998) (“switch means”).3

     In arguing that “during an x-ray exposure procedure” recites

sufficient structure to circumvent a means-plus-function

construction, plaintiff is essentially asking the court to ignore

the presumption of means-plus-function format and construe the

element as any other claim term.       Plaintiff’s proposed

construction would allow him the convenience of drafting his

claim as a means-plus-function limitation while avoiding the

corresponding strictures of § 112, ¶ 6.       See O.I. Corp. v. Tekmar



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        Plaintiff cites Cole for the proposition that means-plus-
function elements should be construed pursuant to ordinary
principles of claim construction. In Cole, the Federal Circuit
construed “perforation” as it would have been understood by a
reader skilled in the art and concluded that the term described
“structure supporting the tearing function.” 102 F.3d at 531. In
other cases, the court applied ordinary principles of claim
construction to determine whether a claim lacked sufficient
structure, thereby invoking § 112, ¶ 6, even though the claim did
not use the term “means.” See, e.g., Personalized Media
Commc’ns, L.L.C. v. Int’l Trade Comm’n, 161 F.3d 696, 704-05
(Fed. Cir. 1998) (finding that the term “digital detector”
conveyed a structure to those knowledgeable in the art). None of
these cases suggests that ordinary principles of claim
construction may be used to construe the term “means” to connote
structure that does not appear in the claim.

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Corp., 115 F.3d 1576, 1583 (Fed. Cir. 1997) (“The price that must

be paid for use of that convenience is limitation of the claim to

the means specified in the written description and equivalents

thereof.”).   Plaintiff cannot invoke the prosecution history and

current knowledge to relieve himself of the statutory burdens of

§ 112, ¶ 6.   Because the claim does not itself recite any

structure by which to move the grid, I must construe this element

as a means-plus-function element.

     Construction of a means-plus-function element proceeds in

two steps.    The first step is to identify the claimed function.

Cardiac Pacemakers, Inc., 296 F.3d at 1113.           “Ordinary principles

of claim construction govern interpretation of the claim language

used to describe the function.”     Id.     The claimed function is

“moving of said grid in said direction during an x-ray exposure

procedure.”

     The second step is to identify the structure disclosed in

the specification that corresponds to the claimed function.                  Id.

“A structure disclosed in the specification qualifies as

‘corresponding’ structure only if the specification or

prosecution history clearly links or associates that structure to

the function recited in the claim.”        Default Proof Credit Card

Sys., Inc., 412 F.3d at 1298.

     Careful review of the specification reveals no mention of

any structure for moving the grid.         Plaintiff cites the following


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passage as evidence of structure:      “Without further analysis, the

foregoing will so fully reveal the gist of the present invention

that others can, by applying current knowledge, readily adapt it

for various applications . . . .”      (Col. 4, lns. 3-5.)        Plaintiff

contends that this passage, in conjunction with the reference to

the Bucky mechanism in the prosecution history, adequately

discloses the structure because the Bucky mechanism is the

conventional mechanism for moving grids during an x-ray exposure

procedure.

     This vague reference to “current knowledge” does not satisfy

the requirements of § 112, ¶ 6.     The structure corresponding to a

means-plus-function element must be disclosed in the

specification.   Default Proof Credit Card Sys., Inc., 412 F.3d at

1302.   Although the prosecution history may link the disclosed

structure to the recited function, see Med. Instrumentation &

Diagnostics Corp., 344 F.3d at 1219, it is the specification that

must disclose the structure, see id. at 1218.         Likewise, “while

it is true that the patentee need not disclose details of

structures well known in the art, the specification must

nonetheless disclose some structure.”       Default Proof Credit Card

Sys., Inc., 412 F.3d at 1302 (citation omitted); see also Med.

Instrumentation & Diagnostics Corp., 344 F.3d at 1212 (“It is not

proper to look to the knowledge of one skilled in the art apart

from and unconnected to the disclosure of the patent.”).            Put


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simply, the fact that the Bucky mechanism was well-known in the

field and disclosed in the prosecution history does not

compensate for plaintiff’s total failure to disclose any

structure in the specification.

     Plaintiff’s remaining arguments are unavailing.            He remarks

that a mechanism for moving a cellular x-ray grid was disclosed

in an article by Mattson and in the Caldwell patent, both of

which are cited in the specification.       But, even if these sources

are deemed incorporated by reference, the Federal Circuit has

held that “material incorporated by reference cannot provide the

corresponding structure necessary to satisfy the definiteness

requirement for a means-plus-function clause.”          Default Proof

Credit Card Sys., Inc., 412 F.3d at 1301.

     Plaintiff also suggests that the representation of the

direction of the grid’s movement in Figure 1 of the specification

suffices under § 112, ¶ 6 because it discloses an “act.”             The

Federal Circuit has foreclosed this argument as well.            See O.I.

Corp., 115 F.3d at 1582-83 (interpreting “structure” and

“materials” as corresponding to means-plus-function limitations

and “acts” as corresponding to step-plus-function limitations).

The arrow showing the direction of movement in Figure 1 in no way

discloses any structure by which to move the grid.

     Given the complete absence of any corresponding structure in

the specification, the evidence that the ‘118 patent is invalid


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under § 112, ¶ 2 is clear and convincing.        This outcome may be

harsh.   But in opting for the convenience of drafting his claim

in means-plus-function format, the plaintiff undertook to comply

with the requirements of § 112, ¶ 6.4       Section 112 aims “to

ensure that the claims are written in such a way that they give

notice to the public of the extent of the legal protection

afforded by the patent.”     Default Proof Credit Card Sys., Inc.,

412 F.3d at 1303-04.    By failing to disclose a corresponding

structure for moving the grid, the patent does not give the

public adequate notice of the scope of its protection.

III. Conclusion

     For the foregoing reasons, defendant’s motion for summary

judgment [Doc. #67] is hereby granted.        Judgment shall enter for

defendants, and the complaint is dismissed with prejudice.

     So ordered.

     Dated at Hartford, Connecticut this 2nd day of March 2007.



                                      /s/
                                      Robert N. Chatigny
                                 United States District Judge


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        I recognize that the plaintiff inserted the means-plus-
function language in response to the examiner’s concerns. The
examiner’s issuance of the patent after plaintiff’s amendment
gives rise to a presumption of validity, rebuttable by clear and
convincing evidence. See Cardiac Pacemakers, Inc., 296 F.3d at
1114. It does not, however, preclude a finding of invalidity, as
plaintiff seems to suggest. Nor do the examiner’s comments imply
that he understood “during an x-ray exposure procedure” to recite
structure.

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